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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            BUTTE DIVISION

 HOLLI TELFORD,                                        CV 19-2-BU-BMM-JCL

                      Plaintiff,
                                                              ORDER
                vs.

 MONTANA LAND EXCHANGE, M.
 STOSICH, DOES REALTORS OF
 MONTANA LAND EXCHANGE, STAR
 VALLEY RANCH TOWN, DOES
 EMPLOYEES OF TOWN, and U.S.
 BANK,

                      Defendants.

I.    Introduction

      Plaintiff Holli Telford, proceeding pro se, filed an application requesting

leave to proceed in forma pauperis. Teleford submitted a declaration that makes the

showing required by 28 U.S.C. § 1915(a). Because it appears she lacks sufficient

funds to prosecute this action IT IS HEREBY ORDERED that Telford’s

application is GRANTED. This action may proceed without prepayment of the

filing fee, and the Clerk of Court is directed to file Telford’s lodged complaint as

of the filing date of her request to proceed in forma pauperis.




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      The federal statute under which leave to proceed in forma pauperis is

permitted — 28 U.S.C. § 1915 — also requires the Court to conduct a preliminary

screening of the allegations set forth in the litigant’s pleading. The applicable

provisions of section 1915(e)(2) state as follows:

      (2) Notwithstanding any filing fee, or any portion thereof, that may have
      been paid, the court shall dismiss the case at any time if the court determines
      that–

             (A) the allegation of poverty is untrue; or

             (B) the action or appeal–

                    (i) is frivolous or malicious;

                    (ii) fails to state a claim on which relief may be granted; or

                    (iii) seeks monetary relief against a defendant who is immune
                    from such relief.

28 U.S.C. § 1915(e)(2).

      The Court will review Telford’s pleading to consider whether this action can

survive dismissal under the provisions of section 1915(e)(2), or any other provision

of law. See Huftile v. Miccio-Fonseca, 410 F.3d 1136, 1138, 1142 (9th Cir. 2005).

II.   Background

      Telford filed a complaint which provides very limited factual information.

She references a real estate transaction in which she was involved in 2006, and two

different criminal prosecutions against her in 2006 and 2007 accusing her of

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allegedly forging notary signatures apparently during the course of the real estate

transaction. And she references numerous laws allegedly violated including five

different federal laws, and seven different causes of action asserted under Montana

common law. But Telford’s allegations do not describe specific acts or omissions

of any specific Defendant that she believes directly violated any of the laws she

lists in her complaint. Thus, her pleading fails to allege any specific claim for relief

against any Defendant identified in her pleading.

III.   Discussion

       Because Telford is proceeding pro se the Court must construe her pleading

liberally, and the pleading is held “to less stringent standards than formal pleadings

drafted by lawyers[.]” Haines v. Kerner, 404 U.S. 519, 520 (1972). See also

Neitzke v. Williams, 490 U.S. 319, 330 n.9 (1989). Although the Court has

authority to dismiss a defective pleading pursuant to 28 U.S.C. § 1915(e)(2),

       a district court should grant leave to amend even if no request to amend the
       pleading was made, unless it determines that the pleading could not possibly
       be cured by the allegation of other facts.

Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir. 2000) (quoting Doe v. United States,

58 F.3d 494, 497 (9th Cir. 1995)).

       Even with liberal construction of Telford’s allegations, the Court concludes

her allegations fail to expressly state any claim for relief. As presently pled,



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Telford’s allegations do not expressly state any cognizable and viable claim for

relief.

          Telford’s complaint fails to comply with at least two provisions of the

Federal Rules of Civil Procedure: Rules 8(a)(2) and 10(b). Rule 8(a)(2) requires

only “a short and plain statement of the claim showing that the pleader is entitled

to relief[.]” Lengthy, detailed and “[s]pecific facts are not necessary; the statement

need only [...] give the defendant fair notice of what the ... claim is and the grounds

upon which it rests.” Erickson v. Pardus, 551 U.S. 89, 93 (2007) (internal

quotations and citations omitted).

          Although the rules require only a short and plain statement, to establish

liability for violation of any particular law the plaintiff must still set forth certain

basic facts demonstrating how each defendant caused or personally participated in

causing a deprivation of the plaintiff's protected rights. Arnold v. IBM, 637 F.2d

1350, 1355 (9th Cir. 1981). Thus, in any complaint the plaintiff must present short,

plain statements which concisely describe: (1) the federal or state law or right the

plaintiff believes was violated; (2) the name of the defendant(s) who violated the

right; (3) exactly what each defendant did or failed to do; (4) how the action or

inaction of that defendant is connected to, or caused the violation of plaintiff’s




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rights protected under the referenced laws; and (5) what injury plaintiff suffered

because of that defendant’s conduct.

      Here, Telford’s allegations do not include the necessary short and plain

factual statements asserting viable claims for relief against any person. Telford’s

vague, unspecific, and limited factual allegations make it impossible for the Court

to determine whether she can state any valid legal claim, or whether her allegations

are frivolous and subject to dismissal under 28 U.S.C. § 1915(e)(2). See Dean Reed

Production Corp. v. Los Angeles County Dept. of Children and Family Services,

2006 WL 3734656, *1 (E.D. Cal. 2006). A totally incomprehensible claim or

complaint is without an arguable basis in law and is subject to dismissal. Jackson

v. Arizona, 885 F.2d 639, 641 (9th Cir. 1989), superseded by 28 U.S.C. §

1915(e)(2)(B) on other grounds.

      Additionally, Telford’s pleading must comply with Fed. R. Civ. P. 10(b).

Rule 10(b) requires that “[a] party must state its claims or defenses in numbered

paragraphs, each limited as far as practicable to a single set of circumstances.”

This permits the individual defendants to answer the allegations by simply

referring by number to the paragraphs of the complaint. Id.




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          Based on the foregoing, and in view of Telford’s pro se status, the Court will

afford her an opportunity to file an amended complaint. In doing so, Telford’s

pleading must comply with Rules 8(a) and 10(b).

IV.       Conclusion

          Based on the foregoing, the Court finds Telford’s complaint, as presently

pled, is subject to dismissal for failure to state a claim on which relief could be

granted. But the Court will afford her an opportunity to file an amended pleading

that conforms to the requirements of this order.

          Therefore, IT IS ORDERED that on or before February 8, 2019, Telford

shall file an amended complaint. The Clerk of Court is directed to provide her with

a standard form for filing an amended complaint. Pursuant to Fed. R. Civ. P. 8(a),

Telford’s amended complaint shall set forth a short and plain statement of her

claims against each individual defendant showing that she is entitled to relief.

          At all times during the pendency of this action, Telford shall immediately

advise the Court of any change of address and its effective date. Such notice shall

be captioned “NOTICE OF CHANGE OF ADDRESS.” Failure to file a NOTICE

OF CHANGE OF ADDRESS may result in the dismissal of the action for failure

to prosecute pursuant to Fed. R. Civ. P. 41(b), or for failure to state a claim for

relief.



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      Telford is also advised that her failure to prosecute this action, to comply

with the Court’s orders, or to comply with the Federal Rules of Civil Procedure

may result in a recommendation that this case be dismissed with prejudice pursuant

to Fed. R. Civ. P. 41(b). The Court may dismiss this case under Rule 41(b) sua

sponte under certain circumstances. See, e.g., Link v. Wabash Railroad Co., 370

U.S. 626, 633 (1962); Hells Canyon Preservation Council v. United States Forest

Serv., 403 F.3d 683, 689 (9th Cir. 2005).

      DATED this 8th day of January, 2019.




                                                Jeremiah C. Lynch
                                                United States Magistrate Judge




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